      Case 3:14-cr-01095-DMS   Document 28    Filed 05/08/14   PageID.25    Page 1 of 1

                                                                           FILED
                         UNITED STATES DISTRICT COURT
                                                                           MAY - 8 2014
                       SOUTHERN DISTRICT OF CALI FORNI
                                                                     CUiRK, u.s. DISTRICT COURT
                                                                  SOlJntERN DJSTRtCl OF CAUroRNIA
                                                                  BY                      DEPun
UNITED STATES OF AMERICA,                    CASE NO. 14CR1095-DMS

                        Plaintiff,
                 vs.                         JUDGMENT OF DISMISSAL
JORGE ALONZO,

                        Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

      an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

-X-   the Court has granted the motion of the Government for dismissal,
      without prejudice; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

-X-   of the offense(s) as charged in the Information:

      21 USC 952 AND 960 - IMPORTATION OF METHAMPETAMINE; 18:2 - AIDING AND

      ABETTING

           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 5/8/14
                                                   L. Burkhardt
                                                   Magistrate Judge
